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      In The United States Court of Federal Claims
                                            No. 05-576T

                                       (Filed: June 5, 2009)
                                            __________
 PRESTOP HOLDINGS, LLC,
 JL INVESTMENT TRUST,
 JOHN M. LARSON, GRANTOR/TRUSTEE,
 TAX MATTERS PARTNER FILING AS
 NOTICE PARTNER,

                        Plaintiff,

         v.

 THE UNITED STATES,

                        Defendant.
                                             _________

                                             ORDER
                                            __________

        On June 4, 2009, the parties filed a joint status report, advising the court of the state of
the case and requesting that another joint status report be filed within 90 days. Accordingly, on
or before September 2, 2009, the parties shall file a joint status report, indicating how this case
should proceed. No further enlargements of this deadline shall be granted.

       IT IS SO ORDERED.


                                                               s/ Francis M. Allegra
                                                               Francis M. Allegra
                                                               Judge
